                                                                   bñÜáÄáí=_
                                                                 =m~ÖÉ=N=çÑ=Q
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                                                                   bñÜáÄáí=_
                                                                 =m~ÖÉ=O=çÑ=Q
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                                                                   bñÜáÄáí=_
                                                                 =m~ÖÉ=P=çÑ=Q
Case 3:18-cv-00137-TMB Document 1-2 Filed 06/12/18 Page 3 of 4
                                                                   bñÜáÄáí=_
                                                                 =m~ÖÉ=Q=çÑ=Q
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